     Case 6:07-cr-10221-JTM   Document 911       Filed 08/01/12   Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
UNITED STATES OF AMERICA,                    )
                                             )
                          Plaintiff,         )       CRIMINAL ACTION
                                             )
v.                                           )       No.    07-10221-MLB
                                             )
MICHAEL L. BIGLOW,                           )
                                             )
                          Defendant.         )
                                             )

                              MEMORANDUM AND ORDER
            This case comes before the court on defendant Michael Biglow’s
motion for acquittal or, in the alternative, a new trial. (Doc. 884).
The motion has been fully briefed and is ripe for decision.                      (Docs.
885, 896, 898).        Biglow’s motion is denied for the reasons herein.
I.          Facts and Procedural History1
            Biglow, along with three co-defendants, were charged in a Fifth
Superceding Indictment filed on September 14, 2011.                    The indictment
contained a total of 35 counts and forfeiture allegations. Biglow was
charged in Count 1 with conspiracy to distribute 500 grams of cocaine
occurring from an unknown date until September 27, 2007.                         No co-
conspirators were identified by name in Count 1, only “other persons
whose identities are both known and unknown . . . .”                  Biglow was also
charged with five counts of using a telephone to distribute cocaine,
two counts of possession with intent to distribute cocaine and two
charges of an unlawful user in possession of a firearm.                   On March 26,
2012, the court granted in part Biglow’s motion to sever. (Doc. 867).


        1
       A more detailed discussion of the procedural history of this
case, which was initially filed in 2007, can be found in this court’s
previous orders. See Docs. 644, 800.
  Case 6:07-cr-10221-JTM     Document 911      Filed 08/01/12    Page 2 of 12




The court severed Clearance Reed and Gregory Reynolds because Reed and
Reynolds were not charged with conspiracy.              See Doc. 867.       The trial
was set for April 3 with two defendants, Biglow and James Black, who
was charged in a separate conspiracy count.
       On April 3, the jury was empaneled.                      On April 10, at the
conclusion of the evidence, Biglow moved for judgment of acquittal on
all counts.      The court granted Biglow’s motion in part and entered a
judgment of acquittal on both counts of being a user in possession of
a firearm and one count of possession with the intent to distribute
cocaine.    The court then instructed the jury on the remaining seven
counts. After deliberating over two days, the jury returned a verdict
of not guilty on the remaining count of possession with the intent to
distribute cocaine and guilty verdicts on the conspiracy and phone
counts.
       Biglow now renews his motion for acquittal on all counts on the
basis that there was not sufficient evidence or, in the alternative,
Biglow requests a new trial.
II.   Analysis
      Pursuant to Fed. R. Crim. P. 29(c), a defendant may move for
judgment of acquittal after the jury has returned a guilty verdict.
If a defendant offers evidence, as he did in this case, the court
reviews    the   entire    record   in   order     to   determine      if   there   was
sufficient evidence for a reasonable jury to find defendant guilty.
United States v. Delgado-Uribe, 363 F.3d 1077, 1083 (10th Cir. 2004).
In reviewing the evidence, the court must view all evidence in the
light most favorable to the government. United States v. Swanson, 360
F.3d 1155, 1162 (10th Cir. 2004).           A conviction may be reversed only

                                         -2-
     Case 6:07-cr-10221-JTM   Document 911     Filed 08/01/12   Page 3 of 12




if “no reasonable juror could have reached the disputed verdict.”
United States v. Carter, 130 F.3d 1432, 1439 (10th Cir. 1997).
A.     Conspiracy Count
       To prove a conspiracy, the government must show (1) that two or
more persons agreed to violate the law; (2) that the defendant knew
the essential objectives of the conspiracy; (3) that the defendant
knowingly and voluntarily took part in the conspiracy; (4) that the
conspirators were interdependent; and (5) the amount of the drugs when
charged.     United States v. Wright, 506 F.3d 1293, 1297-98 (10th Cir.
2007).
       Biglow contends that the government did not prove beyond a
reasonable doubt that an agreement existed to distribute 500 kilograms
of cocaine, that Biglow entered into the agreement knowingly and that
the conspirators were interdependent.             Basically, Biglow’s position
is that he dealt only with Tyrone Andrews on two occasions as a
purchaser of a total of about 6-7 ounces of cocaine.
       During     the    trial,    the    government        introduced         recorded
conversations between Tyrone Andrews and Biglow.                The government also
called Andrews and Abarca to testify.             The evidence established that
Andrews was a major dealer who received approximately five to ten
kilos a week from either Jose Pizana, referred to as the “high” one
in the recorded calls, or Jesus Abarca, referred to as the “fat” one.
In the summer of 2007, Andrews operated out of a stash house on
Ridgewood in Wichita, Kansas.         Biglow came to the stash house to ask
Andrews about renting the house.         At that time, Biglow also wanted to
purchase cocaine from Andrews.           Andrews agreed to “front” Biglow a
“two-piece,” that is two and a half ounces.              That was the first time

                                         -3-
  Case 6:07-cr-10221-JTM   Document 911   Filed 08/01/12   Page 4 of 12




that Andrews sold cocaine to Biglow.            Andrews explained that he
fronted the cocaine to Biglow so that Biglow could determine whether
he liked the cocaine.
     Andrews testified that Biglow requested kilos from Andrews at a
later date but Andrews would not sell to Biglow in that quantity.          On
September 13, Biglow spoke to Andrews on the phone about purchasing
two “two-pieces” for a total of five ounces.         On September 17, Biglow
spoke with Andrews again about purchasing “two”2 but Andrews told
Biglow that he did not have any cocaine to sell.            Andrews testified
that he did have cocaine available that day but that he did not trust
Biglow and did not want to sell him.       On that same call, Biglow told
Andrews that his, Biglow’s, customers were complaining about the
quality of the cocaine he received. The recorded calls also show that
Biglow was familiar with both Abarca and Pizana.            Biglow frequently
asked when deliveries would occur and made comments about which
supplier he preferred.
     Turning to the elements, the instruction to the jury3 on the
conspiracy count stated as follows:
          To find Biglow guilty of this crime you must be
     convinced that the government has proved each of the
     following beyond a reasonable doubt:
          First: two or more persons agreed to violate the
     federal drug laws;
          Second: Biglow knew the essential objective of the


     2
       Andrews was unable to recollect whether Biglow was asking for
two kilos or two “two-pieces.”
     3
      These elements are in accordance with Tenth Circuit law, supra
at page 3, and Biglow has not challenged the instructions in his
motion.

                                    -4-
  Case 6:07-cr-10221-JTM   Document 911   Filed 08/01/12    Page 5 of 12




     conspiracy4;
          Third: Biglow knowingly and voluntarily involved himself in
     the conspiracy;
          Fourth: there was interdependence among the members of the
     conspiracy; and
          Fifth: the overall scope of the conspiracy involved at
     least 500 grams of cocaine.
(Instruction No. 6).
     Biglow first asserts that the evidence was not sufficient to
establish beyond a reasonable doubt that he knowingly and voluntarily
entered into an agreement to distribute cocaine with Andrews, thus
challenging the first and third elements.        The Tenth Circuit has held
that the jury may infer an agreement from circumstantial evidence.
United States v. Delgado-Uribe, 363 F.3d 1077, 1083 (10th Cir. 2004).
Factors for the court to consider in reviewing a jury's verdict
include, but are not limited to: “(1) a defendant's presence at the
crime scene; (2) a defendant's association with co-conspirators; (3)
evidence   of   conflicting   stories;    (4)   active     attempts   to   divert
officers' attention from a stopped vehicle; (5) participation in drug
transactions; or (6) knowledge of and control over drugs.”                 Id.   A
single factor may be insufficient; however, a direct correlation
exists “between the number of circumstantial facts and the existence
of a conspiracy.”    Id.
     In this case, the evidence supports more than one factor.              There
is substantial evidence to support a finding that Biglow had knowledge
and possession of cocaine.       Andrews testified that he sold Biglow


     4
       Biglow does not challenge the sufficiency of the evidence on
this element.

                                    -5-
  Case 6:07-cr-10221-JTM             Document 911     Filed 08/01/12    Page 6 of 12




cocaine on two separate occasions and that Biglow desired to purchase
large amounts of cocaine from Andrews.                    Moreover, Biglow went to the
stash house to purchase cocaine from Andrews. The recorded calls also
show that Biglow knew who Pizana and Abarca were and that he was
familiar with the quality of their cocaine.                     Biglow also knew that he
would       not     be    supplied    with    cocaine    until       Pizana   and/or   Abarca
delivered a supply to Andrews who in turn made the cocaine available
to Biglow.          The court finds that this evidence is sufficient to infer
a knowing and voluntary agreement by Biglow to enter into a conspiracy
with Andrews and Abarca and/or Pizana.5                   See    United States v. Small,
423 F.3d 1164, 1184-85 (10th Cir. 2005)(evidence that supplier fronted
cocaine       to       defendant   and   that    defendant      knew     other    individuals
involved          in     the   distribution     sufficient      to     find   a   knowing   and
voluntary agreement and actions in furtherance of that agreement).
       Next, Biglow contends that there was not sufficient evidence to
support interdependence in this case.                   Interdependence is established
when        “each      coconspirator's       activities      constitute       essential     and
integral steps toward the realization of a common, illicit goal.”
United States v. Carter, 130 F.3d 1432, 1440 (10th Cir. 1997). Biglow
asserts in his reply that there is no evidence that the coconspirators
relied on each other for their success and mutual benefit and cites


        5
       As discussed in a previous order, and further supported at
trial, the evidence in this case supports a finding of a vertical
conspiracy or a link and chain conspiracy in which Andrews, Biglow and
Abarca and/or Pizana were members. (Doc. 850, p. 14). The evidence
does not, however, support a finding of a “hub and spoke” conspiracy
in which Biglow and other street level dealers, i.e. Black, are the
spokes and Andrews is the wheel. Now that the court has determined
a voluntary and knowing agreement, it must now turn to the remaining
two elements.

                                                -6-
  Case 6:07-cr-10221-JTM     Document 911   Filed 08/01/12      Page 7 of 12




to United States v. Caldwell, 589 F.3d 1323 (10th Cir. 2009).
Caldwell, however, is factually different from this case.                      The jury
in Caldwell found the defendant guilty of a tripartite conspiracy
between the defendant, his supplier and another street level dealer.
The evidence showed that the defendant introduced the other dealer to
his   supplier   on    one   occasion.      However,       at   the    time      of   the
introduction, the defendant was no longer involved in the sale of
drugs.     Therefore, the circuit held that the introduction was not
sufficient to establish interdependence.               The circuit, however,
ultimately upheld the jury’s verdict because there was evidence to
support that the defendant was a member of a single conspiracy with
his supplier at one time, concluding that the variance from the
charged tripartite conspiracy was not prejudicial to the defendant.
This case would be helpful to the court if the jury needed to rely on
Black’s involvement as part of Biglow’s conspiracy. It does not. The
instructions     clearly     differentiated     between         the   two      separate
conspiracies.
      The evidence introduced at trial was sufficient to establish
interdependence.      Andrews testified that he fronted Biglow cocaine on
the first sale.       A “front” is when a dealer provides the cocaine up
front and payment is expected after the buyer resells the drugs.
Small, 423 F.3d at 1184.         This “arrangement strongly suggests that
[Biglow] was expected to redistribute the fronted drugs for profit.”
Id.      This evidence is sufficient to satisfy the interdependence
element.    See United States v. Roberts, 14 F.3d 502, 511 (10th Cir.
1993)    (recognizing    that   fronting    creates    a     situation      of   mutual
dependence because the seller's ability to front drugs is dependent

                                      -7-
  Case 6:07-cr-10221-JTM   Document 911       Filed 08/01/12    Page 8 of 12




on his receipt of money due).          Biglow, however, further argues that
there is not interdependence between Biglow and Abarca and/or Pizana.
     In United States v. Ivy, 83 F.3d 1266 (10th Cir. 1996), the Tenth
Circuit dealt with a multi-player conspiracy in which the defendant
was the street-level dealer. The defendant asserted that the evidence
supported a conspiracy between the head of the conspiracy and the
defendant’s supplier but that there was no evidence to suggest that
his minimal contact with his supplier, based on three to four
purchases, could support an inference that he was a member of the
conspiracy.   The circuit disagreed.          The circuit discussed the buyer-
seller rule and determined that the evidence in the case supported the
conclusion that the defendant was not a user but was purchasing the
drugs for resale.     The defendant also objected based on his lack of
any interaction with the head of the conspiracy, the individual who
provided the drugs to the defendant’s supplier.                  The court did not
find that significant in light of the evidence that the defendant’s
supplier   was   receiving      his   drugs    from   the      individual      who   was
considered    the   head   of   the   conspiracy.         Therefore,      there      was
sufficient evidence to establish that the defendant was receiving the
drugs from the head of the conspiracy.
     As in this case, there is sufficient evidence that Biglow was not
using the cocaine exclusively for his own personal use but rather
reselling some or all of the drugs to his customers.                  Moreover, the
evidence was that Andrews only received his cocaine from Pizana and
Abarca. Biglow knew this. Biglow also had received cocaine from both
suppliers and was familiar with the quality of the cocaine as
evidenced from the phone calls. The evidence in this case, as in Ivy,

                                       -8-
     Case 6:07-cr-10221-JTM   Document 911    Filed 08/01/12   Page 9 of 12




supports a finding of interdependence because the activities of the
coconspirators, Biglow included, “facilitated the endeavors of other
alleged conspirators or facilitated the venture as a whole.”                  Ivy, 83
F.3d at 1286.
       Finally, Biglow argues that the evidence was not sufficient to
find beyond a reasonable doubt that the object of the conspiracy was
to    distribute    500   grams   of   cocaine    because      the   evidence   only
established his involvement in less than 200 grams of cocaine.                   The
Tenth Circuit, however, has held that Apprendi and Booker only require
the jury to make a finding as to the amount of drugs for which the
entire conspiracy is liable.        United States v. Stiger, 413 F.3d 1185,
1192-93 (10th Cir. 2005). The circuit agreed with the majority of the
circuits confronted with this issue and reasoned as follows:
            First, Apprendi held that “[o]ther than the fact of a
       prior conviction, any fact that increases the penalty for
       a crime beyond the prescribed statutory maximum must be
       submitted to a jury, and proved beyond a reasonable doubt.”
       Apprendi, 530 U.S. at 490, 120 S. Ct. 2348. Second, in the
       conspiracy context, a finding of drug amounts for the
       conspiracy as a whole sets the maximum sentence that each
       coconspirator could be given.      Derman, 298 F.3d at 42
       (discussing Edwards v. United States, 523 U.S. 511, 118
       S.Ct. 1475, 140 L.Ed.2d 703 (1998)). Because the subsequent
       attribution of drug amounts to individual coconspirators
       cannot increase their maximum sentence, “the judge lawfully
       may determine the drug quantity attributable to that
       defendant and sentence him accordingly (so long as the
       sentence falls within the statutory maximum made applicable
       by    the    jury's    conspiracy-wide     drug    quantity
       determination).” Id. at 43.
            We agree with the reasoning of our sister circuits
       that Apprendi requires the jury only to set the “maximum
       sentence   ([i.e.,  the]   ceiling)”   under   which   each
       coconspirator's sentence must fall. See Knight, 342 F.3d at
       711.   The judge, however, may determine the “floor” by
       finding the precise drug quantity attributable to each
       coconspirator. See id. The jury is not required to make
       individualized findings as to each coconspirator because
       “[t]he sentencing judge's findings do not, because they

                                        -9-
     Case 6:07-cr-10221-JTM   Document 911     Filed 08/01/12    Page 10 of 12




        cannot, have the effect of increasing an individual
        defendant's exposure beyond the statutory maximum justified
        by the jury's guilty verdict.” Id.
Stiger, 413 F.3d at 1192-93.
        The phone calls between Biglow and Andrews show an intent by
Biglow to engage in several transactions with Andrews, even though
there was only specific evidence of the completion of the sale of 3
“two-pieces.”       Moreover, there was evidence that Biglow sought larger
transactions with Andrews.           Also, the evidence clearly supported a
finding that Abarca and Pizana were supplying Andrews with several
kilos6 of cocaine every week.          Therefore, the court finds that there
was sufficient evidence to support a finding that the overall scope
of the conspiracy involved at least 500 grams of cocaine.                        Biglow’s
arguments regarding his involvement in a smaller amount of cocaine go
to the “floor” of the sentencing range and are more appropriate for
the court’s consideration at sentencing.
        Biglow’s    motion    for   acquittal     on   the      conspiracy   count     is
accordingly denied.
B.      Use of Communication Facility Counts
        Finally, Biglow asserts that three of the phone counts should be
set aside because they did not result in any drug transaction. Biglow
further contends that the remaining two counts should also be set
aside because there is no evidence that the drug transaction was
completed nor was there evidence to conclude that Biglow was planning
to resell the cocaine. To find Biglow guilty of the phone counts, the
jury was required to find that Biglow used a communication facility,

        6
       One kilogram of cocaine is equivalent to one thousand grams of
cocaine.

                                        -10-
     Case 6:07-cr-10221-JTM   Document 911      Filed 08/01/12   Page 11 of 12




and, in doing so, Biglow committed, facilitated, or caused to be
committed a drug felony.         United States v. Acosta-Gallardo, 656 F.3d
1109, 1121 (10th Cir. 2011).             A misdemeanor drug purchase cannot
support an 843(b) offense.         Id.
        In this case, the underlying drug felony was a conspiracy.                 The
Tenth Circuit has held that a crime of conspiracy qualifies as a drug
felony that underlies a Section 843(b) offense.                  Id.   (conspiracy is
“the prototypical continuing offense”)(citing United States v. Reed,
1 F.3d 1105, 1108–09 (10th Cir. 1993) (“[W]e hold that proof of an
underlying inchoate crime, such as attempt or conspiracy under § 846,
is sufficient to sustain a facilitation conviction under § 843(b).”))
        The court has determined, supra, that sufficient evidence exists
to support the guilty verdict on the conspiracy count. After a review
of the transcript of the recorded calls and viewing the evidence in
the light most favorable to the government, the court finds that
sufficient evidence exists to support a finding that the calls were
made in furtherance of the conspiracy.              Biglow’s motion for acquittal
on the phone counts is therefore denied.
C.      New Trial
        In the alternative, Biglow requests a new trial on the basis that
the verdicts are contrary to the weight of the evidence.                     (Doc. 885
at 8).      The court disagrees for the reasons stated in this order,
supra.
III. Conclusion
        Biglow’s motion for acquittal or, in the alternative, for a new
trial is denied.       (Doc. 884).



                                         -11-
Case 6:07-cr-10221-JTM   Document 911    Filed 08/01/12   Page 12 of 12




   IT IS SO ORDERED.
   Dated this     1st      day of August 2012, at Wichita, Kansas.


                                        s/ Monti Belot
                                        Monti L. Belot
                                        UNITED STATES DISTRICT JUDGE




                                  -12-
